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                              United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

  TOMMY WILSON,                                    §
                                                   §
                 Plaintiff,                        §   CIVIL ACTION NO. 4:16-CV-970
                                                   §   JUDGE MAZZANT/JUDGE JOHNSON
  v.                                               §
                                                   §
  ALLSTATE INSURANCE COMPANY,                      §
                                                   §
                 Defendant.                        §
                                                   §
                                                   §

                  MEMORANDUM ADOPTING REPORT AND
           RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the report of the United States Magistrate Judge in this action,

 this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

 On November 30, 2017, the report of the Magistrate Judge (Dkt. #48) was entered containing

 proposed findings of fact and recommendations that the parties’ Agreed Motion for Dismissal with

 Prejudice (Dkt. #47) should be GRANTED.

         Having received the report of the United States Magistrate Judge, and no objections thereto

 having been timely filed, the Court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct and adopts the Magistrate Judge's report as the findings and

 conclusions of the Court. Therefore, the parties’ Agreed Motion for Dismissal with Prejudice

 (Dkt. #47) is GRANTED.

        Accordingly, it is hereby ORDERED, ADJUDGED, AND DECREED that this entire

 action, and all of the claims asserted therein, be DISMISSED WITH PREJUDICE. Each party

 shall bear its own costs.
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             All relief not previously granted is hereby DENIED, and the Clerk is directed to CLOSE

     this civil action.

             IT IS SO ORDERED.
              SIGNED this 27th day of December, 2017.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE




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